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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              FORT LAUDERDALE DIVISION


 NIKKI DIXON,

               Plaintiff,

 v.

 SSS EDUCATION INC., a foreign for
 profit corporation,

           Defendant.
 ______________________________/

                       COMPLAINT AND DEMAND FOR JURY TRIAL

         NIKKI DIXON (hereinafter “MS. DIXON”) hereby takes this civil action for

 damages against SSS EDUCATION INC., a foreign for profit corporation (“Jersey

 College”), and states:

                                JURISDICTION AND VENUE

      1. This is an action under Title VII of the Civil Rights Act of 1964, as amended, 42

         U.S.C. § 2000e et seq. (“Title VII”) on the basis of race discrimination and

         harassment.

      2. This Court has jurisdiction pursuant to 28 U.S.C. § 1331.           This Court has

         supplemental jurisdiction pursuant to 28 U.S.C. § 1367.

      3. MS. DIXON is sui juris, over 18 years of age, is a citizen of the United States,

         and at all times material hereto was employed by Jersey College as an Assistant

         Dean working primarily out of the school’s Broward County campus.

      4. Jersey College, a nonparty at this time likely to be added as discovery dictates, is

         the fictitious name of SSS Education, Inc., a for-profit Florida foreign corporation.

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       The company’s registered agent is Steven Litvack, 3625 Queen Palm Drive,

       Tampa, Florida 33619. At all times material hereto, Jersey College maintained

       and operated multiple nursing school campuses in Florida, including one in

       Broward County, Florida.

    5. The Southern District of Florida is the proper venue because (a) the violations

       occurred in the Southern District of Florida, and (b) all of the parties either reside

       in or transact business in the Southern District of Florida.

    6. At all relevant times, Anne McSoley (“MCSOLEY”) was the Vice-President of

       Jersey College, working primarily out of the school’s Broward County, Floirda

       campus location.

    7. On or about June 20, 2014, MCSOLEY actually and intentionally struck MS.

       DIXON, against her will and or without her permission, in the head with a foreign

       object while they were working together at Jersey College. This contact was

       harmful and/or offensive to MS. DIXON.           Moreover, MS. DIXON had done

       nothing to provoke being struck in the head with a foreign object.

    8. Simultaneously and/or around the time MCSOLEY struck MS. DIXON in the

       head, MCSOLEY, a 75+ year old white female, made the following racial remarks

       to MS. DIXON, a 40+ year old African American female: “You idiot, you dummy!”

       and “You have one slave master in Florida and one in New Jersey. I’m your

       ‘masa’ in Florida, and Gregg Karr is your ‘masa’ in New Jersey.”

    9. As a direct, proximate, and/or consequential result of MCSOLEY’s conduct as

       outlined in paragraphs 7 and 8 above, MS. DIXON suffered a physical injury to




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       her head, pain and suffering, mental anguish and or disturbance, including fright,

       revulsion, and or humiliation, and incurred medical expenses to treat same.

                                             COUNT I

               INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

    10. MS. DIXON realleges and incorporates by reference Paragraphs 1 through 9

       above as if fully set forth herein.

    11. MS. DIXON experienced deliberate and reckless inflicted mental suffering from

       Jersey College.

    12. Jersey College’s conduct was intentional or reckless when it knew or should

       have known that emotional distress would likely result.

    13. Jersey College’s conduct was outrageous, that is, as to go beyond all bounds of

       decency, and to be regarded as odious and utterly intolerable in a civilized

       community.

    14. Jersey College’s conduct caused severe emotion distress.

    15. The emotional distress MS. DIXON experienced was severe.

       WHEREFORE, MS. DIXON demands judgment against JERSEY COLLEGE for

 any and all damages recoverable under Florida law.

                                             COUNT II

                            HOSTILE WORK ENVIRONMENT

    16. MS. DIXON realleges and incorporates by reference Paragraphs 1 through 9.

    17. MS. DIXON belongs to a protected group.

    18. MS. DIXON has been subject to unwelcome harassment.

    19. The harassment was based on a protected characteristic of MS. DIXON.



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    20. The harassment was sufficiently severe or pervasive to alter the terms or

       conditions of employment and create a discriminatorily abusive working

       environment.

    21. Jersey College is responsible for such environment under a theory of either

       vicarious or direct liability.

       WHEREFORE, MS. DIXON respectfully requests that this Court enter judgment

 in her favor and against Jersey College, awarding MS. DIXON any and all damages

 recoverable under the law and attorney’s fees and costs.

                                 DEMAND FOR JURY TRIAL

       MS. DIXON demands a trial by jury.

 Dated: September 24, 2018.                    Respectfully submitted,

                                               Wendell Digitally        signed by
                                                               Wendell Locke

                                               Locke           Date: 2018.09.24
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